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WESTERN DISTRICT OF TENNESSEE 2305 JuL ...8 PH 33 5|

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UNITED STATES OF AMERICA, * Wm O}: wl MEMS

*
vs. * 05-20213 MI An

*
DARRYL STALL]NGS, *

*

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE UDUM

 

Scott F. Leary applies to the Court for a Writ to have DARRYL STALLINGS, DOB 06/13/1962,
Booking # 051 12974 now being detained in the Shelby County Jail, appear before the Honorable Diane K.
Vescovo, on Tuesday, July 12, 2005 at 2:00 p.m., FOR INITLAL APPEARANCE, and for such other
appearances as this Court may direct.

Respectfully submitted this § day of July, 2005.

Respectfuily submitted,

TERRELL HARRIS
United St s Atto§e?@

sCoT`T F. LEAR

Assistant United Stat s ttomey
167 N. Main, Room 8

Memphis, TN 38103

(#022357 Tennessee)

 

**********#*#***#**********************************************************#*********

Upon consideration of the foregoing Application,

DAV[D G. JOLLY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
WARDEN, SHELBY COUN'I`Y CORR_EC'I`IONAL CENTER

YOU ARE HEREBY COMMANDED to have DARRYL STALLINGS, DOB 06/13/1962, Booking

# 05112974 appear before the Honorab]e Diane K. Vescovo at the date and time aforementioned

<OM;,, /a, Zew

HONORABLE DIANE K. VESCOVO

+h
ENTERED this g day of July, 2005.

This document entered on the docket sheet in compliance United States Magistrate Judge
Wlth Hule 55 and/or 32(b) FRCrP on 7#//'0 .3"

  
 

UNITED SAsTE DISTRIC COURT - WESTER DISTRICT TENNESSEE

  
 

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This notice confirms a copy of the document docketed as number 4 in
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Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

